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 6
                           UNITED STATES BANKRUPTCY COURT
 7
                                  FOR THE DISTRICT OF NEVADA
 8
 9                                                  Case No. 17-12299-abl
     In re:
                                                    Chapter 7
10   SOUTHEAST HOLDINGS
     CORPORATION;
11
                             Debtor.
12
13   BRIAN SHAPIRO, Trustee;                        Adv. No. 18-01046-abl
14                           Plaintiff,
     v.                                             NOTICE OF CHANGE OF
15                                                  ADDRESS OF ATTORNEY
     ODIN, LLC; and
16   JULIA VASSINA;
17                           Defendants.
18
19
               PLEASE TAKE NOTICE that the law firm of Atkinson Law Associates Ltd., and
20
     its attorney Robert Atkinson, has moved to the new office address listed below. The phone
21
     number, facsimile number and email addresses will all remain the same. Please revise your
22   service lists accordingly:
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26   DATED: January 18, 2019                    ATKINSON LAW ASSOCIATES LTD.
27                                              By:      /s/ Robert E. Atkinson
28                                              ROBERT E. ATKINSON, ESQ.
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